7 F.3d 227
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Emmanuel O. NWOLISE, Defendant-Appellant.
    No. 93-6706.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 20, 1993.Decided:  September 22, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Emmanuel O. Nwolise, Appellant Pro Se.
      Gary Patrick Jordan, United States Attorney, John Vincent Geise, OFFICE OF THE UNITED STATES ATTORNEY, for Appellee.
      D.Md.
      AFFIRMED.
      Before WILKINS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Emmanuel O. Nwolise appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Nwolise, No. CR-85-177-Y;  No. CA-92-3281-Y (D. Md. June 10, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    